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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                            August 15, 2018
                   IN THE UNITED STATES DISTRICT COURT
                                                                           David J. Bradley, Clerk
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

UNITED STATES OF AMERICA                  §
                                          §
V.                                        §               NO. 4:17-CR-431
                                          §
STEPHEN LYNCH                             §

                                      ORDER

      Defendant filed an Unopposed Motion for Extension of Time to File Objections to

the Presentence Investigation Report. The Government is unopposed to this motion. The

motion is hereby GRANTED.

      Counsel must file objections by: ______________________________,
                                        August 27                      2018

      SIGNED at Houston, Texas on ____________________________,
                                   August 15                    2018.




                                       NANCY F. ATLAS,
                                       SENIOR UNITED STATES DISTRICT JUDGE
                                                  NAN Y F. ATLAS
                                         SENIOR UNI   STATES DISTRICT JUDGE
